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                      RECOMMENDATION TERMINATING
               SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                    )
                                            )
                             vs.            )       Docket Number: 2:98CR00068-01
                                            )
Leslie D. WESSON                            )
                                            )


LEGAL HISTORY:

On April 15, 1999, the above-named was sentenced to 156 months custody in the Bureau
of Prisons to be followed by a term of Supervised Release for a period of 5 years. Special
conditions included: Warrantless search; Financial disclosure and restrictions; Drug/alcohol
treatment program; Cellular phone/pager restrictions and billing records disclosure; and
Co-payment for treatment program. On September 19, 2000, Mr. Wesson’s sentence was
reduced to 96 months custody Bureau of Prisons. The term of Supervised Release and
the special conditions remained the same. Supervision commenced on January 21, 2005.


SUMMARY OF COMPLIANCE:

Mr. Wesson has complied with all conditions and special conditions of Supervised
Release, and has not been involved in any further criminal activities. It is the opinion of the
probation officer that Mr. Wesson has derived maximum benefit from supervision and is
not in need of continued supervision.




                                                                                         Rev. 04/2007
                                                1           EARLY TERMINATION ~ RECOMMENDATION.MRG
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RE:      Leslie D. WESSON
         Docket Number: 2:98CR00068-01
         RECOMMENDATION TERMINATING
         SUPERVISED RELEASE PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that Supervised Release in this case be
terminated early.

                                         Respectfully submitted,


                                          /s/ Kris M. Miura
                                          KRIS M. MIURA
                                   United States Probation Officer

Dated:           July 29, 2009
                 Elk Grove, California
                 KMM/cj


REVIEWED BY:               /s/ Deborah A. Spencer
                          DEBORAH A. SPENCER
                          Supervising United States Probation Officer


cc:      To be assigned AUSA (Pursuant to Rule 32, notice of proposed relief to the supervisee is being
         provided. If no objection is received from you within 14 days, the probation officer's Recom m endation
         and Prob 35-Order Term inating Supervised Release Prior to Expiration Date, will be subm itted to the
         Court for approval.)




                                                                                                    Rev. 04/2007
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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                         )
                                                 )
                            vs.                  )     Docket Number: 2:98CR00068-01
                                                 )
Leslie D. WESSON                                 )
                                                 )


On January 21, 2005, the above-named was placed on Supervised Release for a period of
5 years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                   Respectfully submitted,


                                     /s/ Kris M. Miura
                                     KRIS M. MIURA
                              United States Probation Officer

Dated:         July 29, 2009
               Elk Grove, California
               KMM/cj



REVIEWED BY:          /s/ Deborah A. Spencer
                     DEBORAH A. SPENCER
                     Supervising United States Probation Officer




                                                                                                        R ev. 05/2006
                                             3               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
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RE:   Leslie D. WESSON
      Docket Number: 2:98CR00068-01
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.

    08/28/2009                                  /s/ John A. Mendez
Date                                              JOHN A. MENDEZ
                                                  United States District Judge

KMM/cj

Attachment: Recommendation

cc:   United States Attorney's Office




                                                                                                         R ev. 05/2006
                                            4                 E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
